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             Exhibit 25
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
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                    Attorneys for Defendant Facebook, Inc.
           10

           11                                    UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF CALIFORNIA
           12                                       SAN FRANCISCO DIVISION
           13

           14      IN RE: FACEBOOK, INC. CONSUMER                     CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION,
           15                                                         MOTION FOR RECONSIDERATION OF
                                                                      SPECIAL MASTER’S ORDER
           16      This document relates to:                          REGARDING NAMED PLAINTIFF DATA
           17      ALL ACTIONS
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Crutcher LLP
                   MOTION FOR RECONSIDERATION OF SPECIAL MASTER’S ORDER REGARDING NAMED PLAINTIFF DATA
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               1   I.      Introduction

               2           Facebook respectfully seeks reconsideration of the Special Master’s November 29, 2021 Order

               3   re: Plaintiffs’ Motion to Compel Production of Plaintiff Data (the “tentative order”). The tentative

               4   order, if it became final, would require Facebook

               5                                                                   . When Facebook initially raised this

               6   infeasibility to Judge Corley, Plaintiffs insisted that they were not seeking user data relating to Named

               7   Plaintiffs unless it was shared or made accessible to third parties, and they assured the Court that this

               8   limitation would narrow the information Facebook had to produce. The focus then turned to whether

               9   Facebook had produced the three categories of user data that Judge Corley found potentially relevant,

           10      with the understanding that it could be relevant only if it met the “shared or made accessible” test that

           11      Plaintiffs themselves advanced.

           12              The Special Master’s tentative order threatens to undo this forward progress and send the parties

           13      back to square one. Facebook thus seeks reconsideration of the tentative order (1) to the extent that it

           14      unwinds more than one year of negotiations, litigation, and the parties’ agreement by expanding

           15      relevant Named Plaintiff data beyond data that was shared or made accessible, and (2) because

           16      compliance with the tentative order as written, particularly within the specified timeframe, is not

           17      feasible, as set forth in the accompanying declarations of Mengge Ji and David Pope.

           18      II.     Facebook seeks reconsideration of the Special Master’s finding that data relating to the

           19              Named Plaintiffs is discoverable even if not shared.

           20              Facebook seeks reconsideration of the Special Master’s finding that “Discovery Order No. 9

           21      does not limit the scope of discoverable data related to the Named Plaintiffs to data that was shared

           22      with third parties . . . because Judge Corley’s ruling contains no language indicating such a limitation.”

           23      Order ¶ 15 (Exhibit G).

           24              1.     Discovery Order No. 9 does state that the user data relevant to this case is limited to

           25      shared data. But Discovery Order No. 9 largely addressed a separate issue. In the briefs underlying

           26      Discovery Order No. 9, Facebook argued that relevant user data is data that users posted on Facebook.

           27      Judge Corley rejected this position on the basis that relevant data includes all data that Facebook shares

           28      with third parties (whether posted on Facebook or not). Judge Corley wrote: “Plaintiffs correctly argue

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               1   that Facebook’s restrictive view of relevant discovery would exclude an enormous amount of

               2   information that Facebook collects and shares with third parties about Facebook’s users. The district

               3   court’s order (Dkt. No. 298) did not limit Plaintiffs’ claims to only challenging the sharing of data

               4   Facebook collects from a user’s on-platform activity; the claims also challenge Facebook’s sharing of

               5   user data and alleged failure to monitor how third parties used such shared information.” Dkt. 557 at

               6   1–2 (emphases added) (Exhibit I). Judge Corley went on to describe three categories of discoverable

               7   data that included both on-Facebook and off-Facebook activities. Id. at 2. Her description of these

               8   categories of data did not reverse her prior language clarifying that the scope of Plaintiffs’ live claims—

               9   and therefore the scope of relevant discovery—concerns “Facebook’s sharing of user data.” Id.

           10               2.     Discovery Order No. 9 did not dedicate significant space to clarifying that the scope of

           11      discoverable user data is data that Facebook shared with third parties because the parties agreed on

           12      this point. In the briefing underlying Discovery Order No. 9, Plaintiffs stated: “Plaintiffs seek only a

           13      holding that the sensitive data Facebook collected about ten Named Plaintiffs and shared with third

           14      parties is relevant.” Dkt. 547-3 at 9 (emphasis in original) (Exhibit J).1 Plaintiffs explicitly represented

           15      that their narrowed request would narrow the scope of discovery: “Plaintiffs do not contend that

           16      information that was not shared is relevant, which substantially narrows the information Facebook

           17      would be required to produce in this case.” Id. (emphasis added). In particular, Plaintiffs told Judge

           18      Corley that they did “not demand . . . ‘that Facebook search millions of disaggregated data sets for any

           19      data to have ever crossed Facebook’s systems relating to a Named Plaintiff and any derivative materials

           20      drawing on that data.’” Id. (quoting Facebook’s opposition brief). The Special Master’s tentative

           21      order, however, would require exactly that.

           22               3.     At the December 9, 2020 hearing before Judge Corley on this subject, counsel for

           23      Plaintiffs reiterated that the information that they sought about Named Plaintiffs was “information

           24      1
                     Plaintiffs repeated this position numerous times in their briefing. See Dkt. 547-3 at 1 (“This discovery
           25      dispute concerns sensitive user information that Facebook has shared with third parties without users’
                   consent.”); id. at 2 (“[S]ensitive user information is relevant if Facebook shared it without users’
           26      consent.”); id. at 4 (“[T]he legal theories upheld at the pleading stage” turn on “whether Facebook
                   shared [sensitive information] with third parties.”); id. at 5 (“Plaintiffs have standing . . . because their
           27      sensitive information was disseminated to third parties in violation of their privacy.” (quotation marks
                   and citation omitted)); id. at 9 (“Plaintiffs seek an order holding that all sensitive data about the ten
           28      Named Plaintiffs that Facebook shared with or made accessible to third parties is relevant to this
                   action.”).

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               1   shared or made accessible.” Opp. Ex. R at 18:15–16 (Exhibit F) (argument by Counsel Loeser to Judge

               2   Corley).

               3          4.      In briefing before the Special Master, Plaintiffs again conceded: “Plaintiffs have always

               4   sought, and continue to seek, content and information that has been shared with or made accessible to

               5   third parties. And they are not arguing that content and information is relevant if Facebook did not

               6   share it with or make it accessible to third parties.” Plaintiffs’ Reply at 1 (Exhibit H).

               7          5.      By declining to “limit the scope of discoverable data related to the Named Plaintiffs to

               8   data that was shared with third parties,” Order ¶ 15, the Special Master’s tentative order could inject

               9   the extremely burdensome discovery that the parties and Judge Corley have already recognized is not

           10      at issue.   To the extent the Special Master meant only that discoverable information included

           11      information “shared or made accessible”—which would be consistent with Plaintiffs’ statements and

           12      Judge Corley’s orders—Facebook respectfully requests that the tentative order be clarified to say so.

           13             6.      The Special Master’s order also cites Discovery Order No. 11 as evidence that “Judge

           14      Corley clarified that Facebook’s interpretation of Discovery Order No. 9 is not what Judge Corley

           15      intended.” Order ¶ 16. Judge Corley did not issue Discovery Order No. 11 in order to clarify or expand

           16      her prior order. Judge Corley issued Discovery Order No. 11 to describe the scope of a 30(b)(6)

           17      deposition that she authorized at a December 9, 2020 discovery hearing. Dkt. 588 at 1 (Exhibit K).

           18      The purpose of that deposition was to allow Plaintiffs to explore whether any data Facebook shares

           19      with third parties had not been produced for the Named Plaintiffs. Facebook had already explained

           20      that it does not share inferences about users with third parties. See Opp. Ex. R. at 20:15–18.2 But

           21      Plaintiffs expressed “disbelief” in Facebook’s representations about what data was shared with third

           22      parties, and demanded a deposition to verify those representations: “We just don’t believe . . . their

           23      description of what is or is not shared or made accessible. We need to put somebody under oath and

           24      have them testify about that.” Id. at 26:7–9, 28:15–17 (emphasis added). Judge Corley therefore

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           26      2
                     This is for a basic technological reason. When a third party—such as an app developer or business
                   partner—obtains user-related data, it accesses it through an “application programming interface,” or
           27      “API.” Opp. Ex. E ¶¶ 3–7 (Exhibit E). The APIs at issue pulled information from Facebook’s “Social
                   Graph,” not data warehouses like Hive. See id. A user’s DYI file, which Facebook produced for all
           28      Named Plaintiffs, contains the most complete current set of data about that user that is in the Social
                   Graph (and more). See Opp. Ex. C ¶ 5 (Exhibit D).
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               1   allowed Plaintiffs to conduct a 30(b)(6) deposition for that purpose: “to verify the representation that

               2   yes, we collect this information—inferential data, but it is not made accessible to third parties.” Id. at

               3   35:3–5.

               4            7.     Discovery Order No. 11 describes the scope of the deposition Judge Corley authorized;

               5   it does not alter Discovery Order No. 9. The statement from Discovery Order No. 11 that the Special

               6   Master quoted in his order confirms this: “How [Facebook] specifically uses this data is an open

               7   question, but if the Court were to accept Facebook’s arguments about the scope of production, it would

               8   eliminate Discovery Order No. 9’s third category of discovery: data inferred from a user’s on or off-

               9   platform activity.” Order ¶ 16 (quoting Discovery Order No. 11). That statement confirms that if

           10      Facebook did not share inferred data—the question that the 30(b)(6) deposition was meant to verify—

           11      then the third category of data would not be discoverable. Respectfully, the Special Master’s reading

           12      of this statement to mean that non-shared data is discoverable is incorrect and contrary to Discovery

           13      Order No. 9, the briefing underlying it, Discovery Order No. 11, and the entire purpose of the 30(b)(6)

           14      deposition that Judge Corley authorized.

           15      III.     In any event, Facebook seeks reconsideration of the Special Master’s order regarding

           16               what information Facebook must produce.

           17               Even if the Special Master does not reconsider his finding that “Discovery Order No. 9 does

           18      not limit the scope of discoverable data related to the Named Plaintiffs to data that was shared with

           19      third parties,” Order ¶ 15, Facebook respectfully requests reconsideration of the portion of the Special

           20      Master’s tentative order regarding the information Facebook must produce at this time. Facebook is

           21      prepared to “provide a list of data sources that may,” to the best of Facebook’s current knowledge,

           22      “contain information related to” Facebook users, which may include “the Named Plaintiffs.” Order

           23      ¶ 19. But complying with the other aspects of the Special Master’s order is not feasible, particularly

           24      within the proposed timeframe. Facebook has good cause to raise each of these issues in a motion for

           25      reconsideration because (i) Facebook understood that the parties and Court were in agreement that

           26      information that was not “shared or made accessible” to third parties was not discoverable, see Ex. A

           27      (Kutcher Decl.) ¶¶ 1-6, and (ii) the Special Master’s Order requires Facebook to provide information

           28      Plaintiffs did not request in their Motion to Compel, id at ¶ 7.

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               1             8.    First, Facebook requests reconsideration of the Special Master’s order that it provide

               2   “the name of [all] database[s] or data log[s]” that “may contain information related to the Named

               3   Plaintiffs,” Order ¶ 19, as Facebook does not presently have a full list of these sources and is unable to

               4   prepare one within a reasonable time period.

               5

               6                                                                                       See Ex. B ¶ 3 (Pope

               7   Decl.).

               8

               9                                                See id. ¶ 10. Facebook is providing with this motion a list

           10      of the data systems it has identified to date as storing or interacting with user data (without accounting

           11      for whether that data is aggregated or de-identified from a user’s account), but this project is not yet

           12      complete and Facebook cannot yet identify all of the “data logs” within each of the data systems

           13      identified. See id. ¶¶ 3–4, 6; id. Ex. A.

           14                9.    Second, Facebook requests reconsideration of the Special Master’s order that it provide

           15      “a description of [each] data source’s purpose and function.” Order ¶ 19.

           16

           17                                                                                           See Ex. B ¶ 7 (Pope

           18      Decl.).

           19

           20                                                                                               See id. ¶ 9.

           21                10.   Third, for the same reasons, Facebook requests reconsideration of the Special Master’s

           22      order that it provide “a description of the types of Named Plaintiff data contained in the data source.”

           23      Order ¶ 19.

           24

           25                                                                             See Ex. B ¶¶ 8–9 (Pope Decl.).

           26                11.   Fourth, Facebook requests reconsideration of the Special Master’s order that the parties

           27      submit “a proposed protocol for the production of Named Plaintiffs’ data from the data sources

           28      identified by Facebook.” Order ¶ 20.

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               2                                                                                                        See

               3   Ex. C ¶¶ 10–31 (Ji Decl.).

               4

               5

               6

               7                                          See Ex. B ¶¶ 10–11 (Pope Decl.). Moreover, any data ultimately

               8   retrieved as a result of these massive efforts would likely be irrelevant and unusable,

               9                                                    See Ex. C ¶¶ 10, 23 (Ji Decl.).

           10      IV.     Conclusion

           11              Facebook respectfully asks the Special Master to reconsider his finding that data relating to the

           12      Named Plaintiffs is discoverable even if not shared. Even if the Special Master does not reconsider

           13      that finding, Facebook respectfully requests that the Special Master reconsider what information

           14      Facebook must produce.

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                     EXHIBIT A
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                                   UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
12

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14   IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
     PRIVACY USER PROFILE LITIGATION,
15                                                         DECLARATION OF MARTIE
                                                           KUTSCHER IN SUPPORT OF
16   This document relates to:                             FACEBOOK, INC.’S MOTION FOR
                                                           RECONSIDERATION OF SPECIAL
17   ALL ACTIONS                                           MASTER’S ORDER REGARDING
                                                           NAMED PLAINTIFF DATA
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       DECLARATION OF MARTIE KUTSCHER IN SUPPORT OF FACEBOOK, INC.’S MOTION FOR RECONSIDERATION OF SPECIAL
                               MASTER’S ORDER REGARDING NAMED PLAINTIFF DATA
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 1             I, Martie Kutscher, hereby declare as follows:
 2             1.     I am an associate at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record
 3   for Facebook, Inc. (“Facebook”) in the above-captioned matter. I am a member in good standing of
 4   the State Bars of California, New Jersey, and New York. I submit this declaration in support of
 5   Facebook’s Motion for Reconsideration of the Special Master’s Order Regarding Named Plaintiff Data.
 6   I make this declaration on my own knowledge, and I would testify to the matters stated herein under
 7   oath if called upon to do so.
 8             2.     In briefing before Judge Corley in October 2020, Plaintiffs wrote: “Plaintiffs seek only
 9   a holding that the sensitive data Facebook collected about ten Named Plaintiffs and shared with third
10   parties is relevant. Plaintiffs do not contend that information that was not shared is relevant, which
11   substantially narrows the information Facebook would be required to produce in this case.” Dkt. 547-
12   3 at 9 (emphasis in original). Plaintiffs also stated that they did “not demand . . . ‘that Facebook search
13   millions of disaggregated data sets for any data to have ever crossed Facebook’s systems relating to a
14   Named Plaintiff and any derivative materials drawing on that data—such as data sets tracking hours of
15   peak user activity to monitor strains on Facebook’s system.’” Id. (quoting Facebook’s opposition
16   brief).
17             3.     Plaintiffs also stated at a hearing before Judge Corley that the information they sought
18   about Named Plaintiffs was “information shared or made accessible” to third parties. Opp. Ex. Q at
19   18:15–16.
20             4.     Judge Corley’s order similarly reflected the parties’ agreement that discoverable
21   information was limited to information that was shared or made accessible to third parties. See Opp.
22   Ex. P (“The district court’s order (Dkt. No. 298) did not limit Plaintiffs’ claims to only challenging the
23   sharing of data Facebook collects from a user’s on-platform activity; the claims also challenge
24   Facebook’s sharing of user data and alleged failure to monitor how third parties used such shared
25   information.”) (Discovery Order No. 9) (emphases added); see also, e.g., Opp. Ex. R at 35:3–5 (stating
26   that the purpose of the Rule 30(b)(6) deposition she authorized was “to verify the representation that
27   yes, we collect this information—inferential data, but it is not made accessible to third parties”) (Dec.
28   9, 2020 hearing).
                                                          1
       DECLARATION OF MARTIE KUTSCHER IN SUPPORT OF FACEBOOK, INC.’S MOTION FOR RECONSIDERATION OF SPECIAL
                               MASTER’S ORDER REGARDING NAMED PLAINTIFF DATA
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 1          5.      Based on these and other similar statements from Plaintiffs and Judge Corley, Facebook
 2   understood that the parties and Court were in agreement that information that was not “shared or made
 3   accessible” to third parties was not discoverable.
 4          6.      Because Facebook understood the parties to agree on this point, Facebook’s initial
 5   briefing before the Special Master did not detail the extremely burdensome nature or impossibility of
 6   identifying and producing all data related to the Named Plaintiffs. In light of the Special Master’s
 7   tentative order, Facebook provides greater detail on those issues in its motion for reconsideration and
 8   accompanying declarations.
 9          7.      The Special Master’s tentative order also requires Facebook to provide “a description
10   of the types of Named Plaintiff data contained in [each] data source.” Order ¶ 19. Plaintiffs did not
11   request such a description in their motion to compel, so Facebook did not discuss the burden of
12   providing such a description in its initial briefing before the Special Master. In light of the Special
13   Master’s tentative order, Facebook provides greater detail on this issue in its motion for reconsideration
14   and accompanying declarations.
15          8.      I declare under penalty of perjury under the laws of the United States of America that
16   the foregoing is true and correct.
17

18   Executed on December 10, 2021 in Palo Alto, California.
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                                                                               Martie Kutscher
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       DECLARATION OF MARTIE KUTSCHER IN SUPPORT OF FACEBOOK, INC.’S MOTION FOR RECONSIDERATION OF SPECIAL
                               MASTER’S ORDER REGARDING NAMED PLAINTIFF DATA
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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER              CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                            DECLARATION OF DAVID POPE IN
                                            SUPPORT OF FACEBOOK, INC.’S
This document relates to:                   MOTION FOR RECONSIDERATION OF
                                            THE SPECIAL MASTER’S ORDER RE
ALL ACTIONS                                 PLAINTIFFS’ MOTION TO COMPEL
                                            PRODUCTION OF PLAINTIFF DATA

                                            Discovery Special Master Daniel Garrie, Esq.


       DECLARATION OF DAVID POPE IN SUPPORT OF FACEBOOK, INC.’S
  MOTION FOR RECONSIDERATION OF THE SPECIAL MASTER’S ORDER RE
   PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA
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I, David Pope, declare:

       1.      I am a Group Technical Program Manager on the Core Infra Team at Meta, Inc.

f/k/a Facebook, Inc. (hereinafter “Facebook”). I make this declaration on my own knowledge,

and I would testify to the matters stated herein under oath if called upon to do so.

       2.      In my role as a Group Technical Program Manager, I am responsible for

supporting the Core Infra Engineering teams. Through my work at Facebook, I am familiar with

Facebook’s efforts to inventory its data systems and the data assets (i.e., individual logs, data

sets, or other units of data) within them.

       3.      My team and others have been working to inventory all of the data systems (i.e.,

data storage or analysis tools) within Facebook and understand which of them retain user data.




       4.      A list of the data systems we have identified as storing or interacting with

user data is attached hereto as Exhibit A.

       5.      I understand that the Special Master in this matter has requested that Facebook

produce “a list of data sources that may contain” user data and for each source provide (1) “the

name of the data source or data log”; (2) “a description of the data source’s purpose and

function”; and (3) “a description of the types of [user data] . . . contained in the data source.”

       6.      The inventory my team has compiled does not include all “data logs” within each

of the data systems identified.
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        7.      My team also has not compiled a comprehensive description of every data

system’s “purpose and function.” Rather, the “purpose and function” of a data system may vary

depending on the team that is using it. Many data systems are used by multiple teams.

        8.      Last, my team has not analyzed the “types of user data” within each data system,

which can also vary depending on the team using the system.

        9.      Based on my experience, gathering these additional data points about each of the

149 data systems we have identified as containing user data would likely require us to repeat the

same process we implemented to compile this inventory,



        10.     My team and others have separately begun a process of inventorying specific data

assets (e.g., specific data sets or logs).




        11.
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       I declare under penalty of perjury that the foregoing is true and correct, and that I

executed this Declaration on December 10, 2021, in Belmont, California.




_____________________________

David Pope
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                           Exhibit A to Pope Declaration

Data Systems That May Store or Interact With User Data
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                                2
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                     EXHIBIT C
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Attorneys for Defendant Facebook, Inc.




                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER              CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                            DECLARATION OF MENGGE JI IN
                                            SUPPORT OF FACEBOOK, INC.’S
This document relates to:                   MOTION FOR RECONSIDERATION OF
                                            THE SPECIAL MASTER’S ORDER RE
ALL ACTIONS                                 PLAINTIFFS’ MOTION TO COMPEL
                                            PRODUCTION OF PLAINTIFF DATA

                                            Discovery Special Master Daniel Garrie, Esq.


       DECLARATION OF MENGGE JI IN SUPPORT OF FACEBOOK, INC.’S
  MOTION FOR RECONSIDERATION OF THE SPECIAL MASTER’S ORDER RE
   PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA
      Case 3:18-md-02843-VC Document 910-15 Filed 04/11/22 Page 25 of 42




I, Mengge Ji, declare as follows:

       1.      I am a Data Scientist at Meta, Inc. f/k/a Facebook, Inc. (“Facebook”). My job

responsibilities include, among other things, understanding and working with Facebook’s data

systems, writing queries and conducting analyses of these data, researching Facebook’s data and

related technologies, and locating, analyzing, and exporting data for production in litigation and

other legal matters. I submit this declaration in support of Facebook’s motion for

reconsideration of the Special Master’s Order re Plaintiffs’ Motion to Compel Production of

Plaintiff Data. Unless otherwise stated, I have personal knowledge of the facts set forth herein,

and, if called as a witness, I could and would competently testify thereto.

       2.      In my role as Data Scientist at Facebook, I am familiar with the general categories

of user information Facebook maintains, where that data might be stored, and how they can

potentially be accessed.

Data Contained in Facebook’s Social Graph Related to Users’ Activities on Facebook

       3.      Facebook users directly provide Facebook with data or information when using

the Facebook platform. For instance, a user can upload a photo directly to her Facebook profile,

which Facebook retains in order to display when that profile is accessed (if the user’s privacy

settings allow it). If the user “tags” a friend in that photo, Facebook also retains a record of

which other Facebook user has been identified as appearing in that photo. In essence, the entire

Facebook product that users interact with is a web of data points and relationships between data

points that Facebook’s systems present in a user-friendly format.

       4.      Facebook uses the term the “Social Graph” to describe this complex web of

people, places, things, actions, and connections on the Facebook platform. As Facebook users

navigate through Facebook and interact with it—including, for example, by commenting on
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posts made by other users, watching videos, posting photos, and sending messages—the users

create new relationships and connections between themselves and the content they are able to

see. The activities a user takes on the Facebook platform, including posting pictures to their

profiles, tagging friends in photos, and commenting on friends’ timelines, are reflected in the

Social Graph.

        5.       The Facebook product that users see is powered by a series of databases that work

in tandem to provide Facebook users a seamless experience. 1 The key databases Facebook uses

to support the Facebook product, which store the user content and information presently

accessible via the Social Graph, are:




1   Facebook’s Social Graph is not powered by a single database. Rather, Facebook is powered by an
    extraordinarily complex information architecture that stores information in various databases. The information
    in these databases is generally not human-readable and instead is intended to be processed for human
    consumption through Facebook’s production environment.
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                                 .2

        6.       Between them, these databases contain trillions of data points provided to

Facebook by its more than 2 billion users, many of which need to be readily accessible at all

times so that users can view them as they use the Facebook product. As a result, the data

infrastructure underlying the Social Graph is not only extraordinarily complex, but has also been

specifically designed to serve the needs of the Facebook product.

        7.       One of the functions of the Facebook product is to be able to specifically identify

user profiles or other sets of information associated with specific users.




        8.




        9.       I understand that Facebook’s “Download Your Information” or “DYI” tool

retrieves data from and allows users to download a copy of data Facebook associates with their




2   The Everstore database is in the process of being deprecated. The data contained in Everstore is being
    transitioned to Manifold.
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Facebook account, including data associated with their account in the Social Graph. In order to

compile this information, the DYI tool runs a set of searches that have been engineered by the

DYI product team in order to pull data associated with that user from the Social Graph. The

resulting data is presented in a user-readable format, rather than as code or strings of data.

Analytics Data Stored in Facebook’s Data Warehouse (“Hive”)

       10.     Facebook also stores data sets that it uses for internal analytics, product

development, and other business functions.




       11.     Facebook’s internal analytics data is primarily stored in a data warehouse called

Hive, which exists separately from the Social Graph.




       12.     The Hive data warehouse is contained across a decentralized set of data centers,

spread across the world.



       13.     In addition to the Social Graph and Hive, I am aware of several other databases

that contain data related to Facebook users, including data that is anonymized.
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       14.   I have also consulted with other members of the Data Science team regarding this

question.



       15.




       Searching Within Hive

       16.




       17.
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 18.




 19.




 20.
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 21.




 22.




 23.
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 Exporting Data from Hive

 24.




                                       .

 25.




 26.



 27.




 28.
      Case 3:18-md-02843-VC Document 910-15 Filed 04/11/22 Page 33 of 42




       29.     Preparing any productions also requires substantial additional resources from

senior members of the eDiscovery data scientist team to prepare for and manage the coding and

export project. Moreover, after the initial exported files have been created, it would take

additional time for a review team to validate the queries and data and perform additional quality

control, or longer if there are issues that require remediation.

       30.




                                        The Facebook eDiscovery team, which is responsible for

assisting Facebook in-house and outside counsel in active litigations and other legal matters, in

addition to building and maintaining internal infrastructure crucial to the management and

preservation of data on legal hold, does not have the time and resources required to search for,

access, analyze, and export the data in millions of Hive tables in the manner described above.

       31.     Facebook cannot materially shorten this timeline by hiring new employees




                                                                   For the same reason, Facebook

cannot simply engage third party consultants or temporary employees to handle this data export.

Nor would adding more servers—which would require diverting them from their use in the

ordinary course of business—necessarily reduce the estimated timeline in a linear fashion,



                                   All of these options—hiring new employees, hiring contractors,

and adding servers—would also be extremely costly.
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       I declare under penalty of perjury that the foregoing is true and correct, and that I

executed this Declaration on December 10, 2021, in Sausalito, California.




_____________________________

Mengge Ji
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       FACEBOOK OPPOSITION
            EXHIBIT C
      Case 3:18-md-02843-VC Document 910-15 Filed 04/11/22 Page 36 of 42




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER             CASE NO. 3:18-MD-02843-VC-JS
PRIVACY USER PROFILE LITIGATION,
                                           DECLARATION OF
                                           BEN MITCHELL IN SUPPORT OF
This document relates to:                  FACEBOOK'S OPPOSITION TO
                                           PLAINTIFFS' MOTION TO COMPEL
ALL ACTIONS                                NAMED PLAINTIFF DATA
       Case 3:18-md-02843-VC Document 910-15 Filed 04/11/22 Page 37 of 42




I, Ben Mitchell, declare:

         1.       I am Director of Product Management at Defendant Facebook, Inc. (hereinafter

"Facebook"). I make this declaration on my own knowledge, and I would testify to the matters

stated herein under oath if called upon to do so.

         2.       In my role as Director of Product Management, my responsibilities include

providing support for Facebook's "Download Your Information" or "DYi" tool. Through my

role, I am familiar with the DYi tool, the data that it includes, and where that data is stored.

         3.       Facebook uses the term the "Social Graph" to describe the complex web of

people, places, things, actions, and connections on the Facebook platform. The Facebook

product that users see is powered by a series of databases that work in tandem to provide

Facebook users a seamless experience. As Facebook users navigate through Facebook and

interact with it-including, for example, by commenting on posts made by other users, watching

videos, posting photos, and sending messages-the users create new relationships and

connections between themselves and the content they are able to see. 1 This web of people,

places, things, actions, and connections is referred to as the "Social Graph."

         4.       The DYi tool allows a user to download a copy of data Facebook associates with

their Facebook account, including data associated with their account in the Social Graph.

         5.       The DYi file for each individual user represents the most complete and best

compilation of data Facebook maintains associated with that user, and the best available




 1




                                                                   I am generally aware that several databases
     collectively store the information that underlies the Social Graph and the names of these databases, but I am not
     knowledgeable about the technical details and functions of each underlying database.
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compilation of the data about that user in the Social Graph, in a human-readable and producible

form.

         6.     Exhibit B to the Declaration of Martie Kutscher lists categories of data contained

in a user's DYI file, unless data in a given category does not exist for the user or the user deleted

it. The DYI file does not include data such as (i) data a user has deleted from their own profiles

(e.g., photos that have been removed), (ii) any other data Facebook does not maintain; (iii) data

associated only with a different user's account, or (iv) Facebook's trade secrets.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

October 28, 2021 at Felton, California.


         Seh #itcftelt
         Ben Mitchell




                                                  2
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       FACEBOOK OPPOSITION
            EXHIBIT E
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER             CASE NO. 3:18-MD-02843-VC-JS
PRIVACY USER PROFILE LITIGATION,
                                           DECLARATION OF
                                           KARANDEEP ANAND IN SUPPORT OF
This document relates to:                  FACEBOOK'S OPPOSITION TO
                                           PLAINTIFFS' MOTION TO COMPEL
ALL ACTIONS                                NAMED PLAINTIFF DATA
       Case 3:18-md-02843-VC Document 910-15 Filed 04/11/22 Page 41 of 42




I, Karandeep Anand, declare:

         1.       I am Vice President, Business Products at Defendant Facebook, Inc. (hereinafter

"Facebook"). I make this declaration on my own knowledge, and I would testify to the matters

stated herein under oath if called upon to do so.

         2.       In my role as Vice President, Business Products, I am familiar with how

Facebook shares or makes data available to third parties, including application developers and

partners. I am also generally familiar with how Facebook's platform operates, how data about

particular users can be accessed, and how that data is shared with third parties.

         3.       Facebook makes individualized data about Facebook users available to third

parties-including app developers and partners-through application programming interfaces

("APis"). These APis pull data exclusively from Facebook's Social Graph.

         4.       Facebook uses the term the "Social Graph" to describe the complex web of

peoples, places, things, actions, and connections on the Facebook platform. The Facebook

product that users see is powered by a series of databases that work in tandem to provide

Facebook users a seamless experience. As Facebook users navigate through Facebook and

interact with it-including, for example, by commenting on posts made by other users, watching

videos, posting photos, and sending messages-the users create new relationships and

connections between themselves and the content they are able to see. 1 This web of people,

places, things, actions, and connections is referred to as the "Social Graph." The activities a user

takes on the Facebook Platform, including posting pictures to their profiles, liking photos, and



 1




                                                                   I am generally aware that several databases
     collectively store the information that underlies the Social Graph and the names of these databases, but I am not
     knowledgeable about the technical details and functions of each underlying database.
      Case 3:18-md-02843-VC Document 910-15 Filed 04/11/22 Page 42 of 42




commenting on friends' timelines, and certain activities a user takes off of the Facebook

Platform, are reflected in the Social Graph.

       5.       APis are a standard industry programming tool and they allow applications to

access data and features of other applications, services, or operating systems. APis can provide

access to a defined set of User Data (e.g., a user's name or Facebook ID) or other information the

developer is authorized to access, (e.g., photos a user has shared with the developer).

       6.       APis Facebook has made available to third parties-including app developers and

partners-that allow access to user-identifiable information query the Social Graph only. This

was also true during the period from 2007 to present and is true of all of the APis identified in

Facebook's response to Plaintiffs' Fourth Set oflnterrogatories. Users' privacy settings and the

permission they specifically grant the applications they access or download control what non-

public data third parties are able to access about them, as described in Facebook's Data Policy.

       7.       Facebook also maintains a data warehouse called Hive, which is separate from the

Social Graph.



                                                 Facebook does not provide any APis that allow

third parties to retrieve data from Hive and third parties are not able to access Hive directly.




       I declare under penalty of perjury that the foregoing is true and correct. Executed on

October 28, 2021 at Seattle, Washington.




       Karandeep Anand


                                                  2
